
SHAW, Justice.
We have for review Maxwell v. State, 645 So.2d 572 (Fla. 5th DCA 1994), based on conflict with Ashley v. State, 614 So.2d 486 (Fla.1993). We have jurisdiction. Art. V, § 3(b)(3), Fla. Const.
Our decision in State v. Blackwell, No. 84,071, — So .2d — [1995 WL 424180] *1159(Fla. July 20, 1995), controls. We quash Maxwell and remand for proceedings consistent with Blackwell.
It is so ordered.
GRIMES, C.J., and OVERTON, KOGAN, HARDING, WELLS and ANSTEAD, JJ., concur.
